             Case 1:08-cr-00124-AWI Document 445 Filed 10/29/14 Page 1 of 7


 1
 2
 3
 4
 5
 6
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 7
 8                             EASTERN DISTRICT OF CALIFORNIA

 9
10       Pioquinto Larios Santacruz,                      1:13-cv-01672-AWI
                                                          1:08-cr-0124-AWI
11
                           Petitioner,
12                                                        ORDER REGARDING
                   v.                                     PETITIONER’S MOTION TO
13                                                        VACATE, SET ASIDE OR
         UNITED STATES OF AMERICA,                        CORRECT SENTENCE
14
                                                          PURSUANT TO 28 U.S.C. § 2255
15                         Respondent.
                                                          (Doc. 687)
16       __________________________________/
17
18
19                                        I. INTRODUCTION
20          This matter arises from the jury conviction of Defendant/Petitioner Pioquinto Larios
21 Santacruz (“Petitioner”). Petitioner is currently incarcerated at the Elkton Federal Correctional
22 Institution at Lisbon, Ohio (“Elkton FCI”) and is proceeding in this matter in propria persona.
23 Petitioner brings a motion to vacate, set aside, or correct his sentence pursuant to 28 U.S.C.
24 Section 2255. Petitioner‟s complaint surrounds his contention that he was never lawfully
25 convicted of conspiracy to distribute and/or possess with intent to distribute, distribution of, and
26 possession with intent to distribute methamphetamine because the jury never found the quantity
27 allegation of the government to be true. Petitioner has alleged five grounds for relief: (1)
28 Petitioner‟s conviction despite the jury‟s finding that the government had not proven the specific
                                                     1
             Case 1:08-cr-00124-AWI Document 445 Filed 10/29/14 Page 2 of 7


 1 quantity allegation – 500 grams or more of a mixture containing a detectable amount of
 2 methamphetamine and/or 50 grams or more of methamphetamine – violated Petitioner‟s Sixth
 3 Amendment and Due Process rights; (2) the district court exceeded its jurisdictional limits when
 4 it sentenced Petitioner pursuant to a § 841(b)(1)(C), despite the fact that the government did not
 5 charge him with its violation; (3) trial and appellate counsel were ineffective in failing to
 6 challenge the imposition of a sentence where not all of the elements were proven to a jury,
 7 beyond a reasonable doubt; (4) appellate counsel was ineffective in failing to file a petition for
 8 writ of certiorari; and (5) the statements made by an interpreter at trial regarding testimony
 9 previously given violated the Confrontation Clause of the Sixth Amendment. This Court need
10 only address Petitioner‟s first claim on the merits because Petitioner‟s second through fourth
11 claims are procedurally defaulted and Petitioner‟s first (partially) and fifth claims impermissibly
12 seek to relitigate a matter decided on direct appeal as described, infra.
13                                         II. BACKGROUND
14          On December 10, 2009, Petitioner was charged in a third superseding indictment with (1)
15 conspiracy to distribute and to possess with intent to distribute methamphetamine and cocaine in
16 violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846; (2) distribution of methamphetamine
17 and cocaine in violation of 21 U.S.C. §§ 841(a)(1), and 841(b)(1)(A), and 18 U.S.C. § 2; and (3)
18 possession with intent to distribute methamphetamine and cocaine in violation of 21 U.S.C. §§
19 841(a)(1) and 841(b)(1)(A). (Doc. 142.) On April 24, 2010, a jury found Petitioner guilty of all
20 three offenses. (Doc. 259.) However, the jury found that the quantity allegations as to each
21 charge were unproven. (id.) The district court sentenced Petitioner to 188 months on each of
22 Counts 1, 2, and 3, all to be served concurrently. (Doc. 330 at 2.)
23          Petitioner appealed his sentence on largely the same grounds raised in Petitioner‟s instant
24 motion. (See Ninth Cir. Docket No. 10-10400.) The Ninth Circuit denied Petitioner‟s appeal on
25 May 8, 2012. United States v. Santacruz, 480 Fed.Appx. 441 (9th Cir. 2012); Doc. 400. Mandate
26 was issued on June 1, 2012. (Doc. 401.) Petitioner‟s petition for writ of certiorari to the United
27 States Supreme Court was denied on June 24, 2013. Santacruz v. United States, 133 S.Ct. 2850
28 (2013)
                                                     2
              Case 1:08-cr-00124-AWI Document 445 Filed 10/29/14 Page 3 of 7


 1          On October 15, 2013, Petitioner filed a motion to vacate pursuant to 28 U.S.C. § 2255.
 2
 3                                       III. LEGAL STANDARD
 4          Title 28 U.S.C. § 2255 provides, in pertinent part: “A prisoner in custody under sentence
 5 of a court established by Act of Congress claiming the right to be released upon the ground that
 6 the sentence was imposed in violation of the Constitution or laws of the United States ... may
 7 move the court which imposed the sentence to vacate, set aside or correct the sentence.” Habeas
 8 relief is available to correct errors of jurisdiction and constitutional error but a general “error of
 9 law does not provide a basis for collateral attack unless the claimed error constituted a
10 fundamental defect which inherently results in a complete miscarriage of justice.” United States
11 v. Addonizio, 442 U.S. 178, 185, 99 S.Ct. 2235, 60 L.Ed.2d 805 (1979).
12          Courts must “construe pro se habeas filing liberally.” Laws v. Lamarque, 351 F.3d 919,
13 924 (9th Cir.2003). Under Section 2255, “a district court must grant a hearing to determine the
14 validity of a petition brought under that section, „[u]nless the motions and the files and records of
15 the case conclusively show that the prisoner is entitled to no relief.‟” United States v. Blaylock,
16 20 F.3d 1458, 1465 (9th Cir.1994), quoting 28 U.S.C. § 2255. The court may deny a hearing if
17 the petitioner's allegations, viewed against the record, fail to state a claim for relief or “are so
18 palpably incredible or patently frivolous as to warrant summary dismissal.” United States v.
19 McMullen, 98 F.3d 1155, 1159 (9th Cir.1996), citations omitted. Mere conclusory statements in
20 a Section 2255 motion are insufficient to require a hearing. United States v. Hearst, 638 F.2d
21 1190, 1194 (9th Cir.1980).
22          Under Rule 4(b) of the Rules Governing Section 2255 Proceedings, when a court receives
23 a section 2255 motion, the court must initially screen it, and dismiss it summarily if it plainly
24 appears that the moving party is not entitled to relief. See United States v. Quan, 789 F.2d 711,
25 715 (9th Cir.1986).
26
27 ///
28 ///
                                                       3
             Case 1:08-cr-00124-AWI Document 445 Filed 10/29/14 Page 4 of 7


 1                                          IV. DISCUSSION
 2 A. Collateral review cannot be used to revisit adverse direct review.
 3         It is well settled that a habeas petition is not a vehicle for challenging the decision of a
 4 federal appellate court. See Feldman v. Henman, 815 F.2d 1318, 1321–22 (9th Cir.1987).
 5 Consequently, a criminal defendant who raises a claim or issue on direct appeal may not again
 6 assert that same claim or issue in a section 2255 habeas corpus petition. See United States v.
 7 Hayes, 231 F.3d 1132, 1139 (9th Cir.2000); United States v. Redd, 759 F.2d 699, 701 (9th
 8 Cir.1985). Any contrary rule would contravene the longstanding “law of the case” doctrine,
 9 under which “a court generally is precluded from reconsidering an issue that has already been
10 decided by the same court or a high court in the same case....” Williams v. Harrington, 511 F.
11 App'x 669, 2013 WL 1093019, *2 (9th Cir. Mar.18, 2013) (Hug, Farris, Leavy) (citing United
12 States v. Cuddy, 147 F.3d 1111, 1114 (9th Cir.1998)); see, e.g., Reed v. Town of Gilbert,
13 Arizona, 707 F.3d 1057, 1067 n.9 (9th Cir. 2013) (prior opinion affirming district court's
14 determination regarding constitutionality of ordinance was the law of the case and precluded
15 reconsideration of the issues determined by that opinion) (citing Minidoka Irrigation Dist. v.
16 Dep't of Interior, 406 F.3d 567, 573 (9th Cir.2005)).
17         In response to Petitioner‟s appeal the Ninth Circuit rejected his claims that: (1) admission
18 of a DEA witness‟s testimony regarding Petitioner‟s statements made through a law enforcement
19 related interpreter were inadmissible hearsay and a violation of the Confrontation Clause, (2) the
20 district court applied the wrong evidentiary standard in making its drug quantity determination,
21 and (3) the drug quantity determination raised Petitioner‟s offense level such that he was exposed
22 to a sentence greater than the statutory maximum, in violation of Apprendi v. New Jersey, 530
23 U.S. 446 (2000).
24         Petitioner‟s present claims alleging that the drug quantity allegation was required to be
25 proven to a jury beyond a reasonable doubt (i.e. ground 1) and that the admission of statements
26 made through the law enforcement related interpreter violated the Confrontation Clause (i.e.
27 ground 5) were both raised by Petitioner on direct review and rejected by the Court of Appeals.
28
                                                      4
                Case 1:08-cr-00124-AWI Document 445 Filed 10/29/14 Page 5 of 7


 1 See U.S. v. Santacruz, 480 Fed.Appx. 441. Grounds one (except as explained below) and five are
 2 therefore foreclosed and cannot serve as the basis for federal habeas review.
 3 B. Petitioner’s Alleyne Claim
 4           To the extent that Petitioner‟s first ground contends that the Ninth Circuit‟s ruling is in
 5 conflict with the Supreme Court‟s Sixth Amendment jurisprudence, namely Alleyne v. United
 6 States, --- U.S. ----, 133 S.Ct. 2151 (2013), requiring that facts other than that of a prior
 7 conviction which increase the statutory minimum (or statutory maximum under Apprendi) be
 8 proven to a jury beyond a reasonable doubt, his claim is not precluded. See United States v.
 9 Hernandez, 547 Fed.Appx. 839, 840 (9th Cir. 2013) (citing United States v. Cortes, 732 F.3d
10 1078, 1088, 1090-1091 (9th Cir. 2013) (a quantity determination need only be submitted to a
11 jury under Apprendi or Alleyne if the type and/or quantity increases the statutorily prescribed
12 minimum or maximum sentence.) The Second and Tenth Circuits, as well as district courts in
13 this Circuit have recognized: “Alleyne[, as an extension of Apprendi,] did not announce a new
14 rule of law made retroactive on collateral review.” In re Payne, 733 F.3d 1027, 1013 (10th Cir.
15 2013); United States v. Redd, 735 F.3d 88, 91-92 (2nd Cir. 2013); see Broussard v. United
16 States, 2014 WL 3530003, *4-5 (E.D. Cal. 2014). Although the Ninth Circuit has not decided
17 whether or not Alleyne announced a new rule, it recently noted that “a new rule is not made
18 retroactive to cases on collateral review unless the Supreme Court holds it to be retroactive” then
19 decided that “[t]he Supreme Court did not make Alleyne expressly retroactive.” Hughes v. United
20 States, ---F.3d ----, 2014 WL 5368857, *2, 4 (9th Cir. 2014). Even assuming that Alleyne
21 announced a new rule, it is not made retroactive on collateral review. However, Petitioner‟s
22 direct review was still pending when the United States Supreme Court decided Alleyne. See
23 Santacruz v. United States, 133 S.Ct. 2850 (Petitioner‟s petition for writ of certiorari was not
24 denied until June 24, 2013.); Alleyne,133 S.Ct. 2151 (Alleyne was decided on June 17, 2013.).
25 Accordingly, Alleyne - which holds that any fact that increases the mandatory minimum is an
26 element of the offense and must be submitted to a jury – controls this case.1
27 1
      In Alleyne, the Supreme Court overruled Harris v. United States, 536 U.S. 545 (2002) which held that Apprendi
28   does not apply to (i.e. does not require a jury determination beyond a reasonable doubt) facts which increase the
     mandatory minimum but not the maximum sentence.
                                                              5
                Case 1:08-cr-00124-AWI Document 445 Filed 10/29/14 Page 6 of 7


 1            Petitioner was sentenced pursuant to 21 U.S.C. 841(b)(1)(A). (See Doc. 330.) Sections
 2 841(b)(1)(A)(ii) and 841 (b)(1)(A)(viii), involving quantity findings for cocaine and
 3 methamphetamine, respectively, set a mandatory minimum term of imprisonment at 10 years and
 4 a statutory maximum term of imprisonment at life. Section 841(b)(1)(C) – which requires no
 5 specific quantity of any Schedule II controlled substance2 – is the default sentence for cocaine or
 6 methamphetamine offenses under section 841 where no quantity is proven. Section 841(b)(1)(C)
 7 sets a no mandatory minimum term of imprisonment and statutory maximum term of
 8 imprisonment at 20 years.3
 9            Because sentencing pursuant to section 841(b)(1)(A) imposes a mandatory minimum
10 where one would otherwise not exist, that truth of the quantity determination is an element of the
11 offense that must be submitted to the jury and proven beyond a reasonable doubt. The special
12 verdict rendered by the jury specifically found that the government had not proved that any of
13 the three counts charged against Petitioner involved drug quantities violative of sections
14 841(b)(1)(A)(ii) or (vii). (See Doc. 259.) As a result, this Court cannot make the determination
15 that Petitioner is plainly entitled to no relief as to his first ground. This Court will order the
16 government to answer as to this ground.
17 C. Petitioner’s second, third and fourth grounds for relief.
18            Petitioner‟s second through fourth grounds for relief essentially advance the same theory
19 forwarded in ground one but couches them as a jurisdictional challenge and two ineffective
20 assistance of counsel claims, respectively. They are as follows: (2) appellate counsel was
21 ineffective in failing to challenge the district court having exceeded its jurisdiction when it
22 sentenced Petitioner pursuant to 21 U.S.C. 841(b)(1)(C) despite the fact that the government
23 never charged him with a violation of that section, (3) Petitioner‟s trial and appellate counsel
24 were ineffective for failing to raise Petitioner‟s first ground for relief at an earlier stage, and (4)
25 Petitioner‟s appellate counsel was ineffective for failing to file a petitioner for writ of certiorari
26
27 2
       Cocaine and methamphetamine are both Schedule II controlled substances. See 21 U.S.C. 813.
     3
28     The Court has found no authority to suggest that the fact that the district court sentenced Petitioner within the
     statutory range for 841(b)(1)(C) could negate the potential constitutional error.
                                                                6
                Case 1:08-cr-00124-AWI Document 445 Filed 10/29/14 Page 7 of 7


 1 with the United States Supreme Court.4 Because each of the three claims relies on the same
 2 underlying claim of error that this court addressed with respect to petitioner‟s first ground for
 3 relief, and because resolution of that ground would resolve these claims, this Court need not
 4 address grounds two, three, and four.
 5                                                       V. ORDER
 6            Based on the foregoing, IT IS HEREBY ORDERED that the government shall file a
 7 response to Petitioner‟s Sixth Amendment claim, as outlined in Section (IV)(B), supra, within 45
 8 days of the date of this order. The government‟s brief should indicate whether or not it believes
 9 the district court‟s sentencing violated the Sixth Amendment in light of Alleyne. Regardless of its
10 position on whether a Sixth Amendment violation took place, the government‟s brief should
11 assume that the court may find that the Sixth amendment was violated; indicate the government‟s
12 position regarding whether resentencing would cure any error or whether a new trial would be
13 necessary.
14
     IT IS SO ORDERED.
15
16 Dated: October 29, 2014
                                                          SENIOR DISTRICT JUDGE
17
18
19
20
21
22
23
24
25
26
27
     4
28    This Court would note that a petition for writ of certiorari was filed to the Supreme Court after the denial of
     Petitioner‟s appeal. See Santacruz v. United States, 133 S.Ct. 2850.
                                                                7
